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13
14                                 UNITED STATES DISTRICT COURT

15                                          DISTRICT OF NEVADA
16   REBECCA BRATCHER, on behalf of herself Case No.: 2:20-cv-00767-APG-BNW
17   and all others similarly situated,

18                             Plaintiff,            STIPULATION AND [PROPOSED] ORDER
                                                     FOR 91-DAY EXTENSION OF ALL CASE
19   v.                                              DEADLINES
20
     ALLEGIANT TRAVEL COMPANY and                    [THIRD REQUEST]
21   ALLEGIANT AIR, LLC,
22
                               Defendants.
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 1
            Plaintiff Rebecca Bratcher (“Plaintiff”), by and through her undersigned counsel, and
 2
     Defendants Allegiant Travel Company and Allegiant Air, LLC (“Defendants” or “Allegiant”)
 3
     (Plaintiffs and Defendants are collectively referred to as the “Parties”), by and through
 4
     Allegiant’s undersigned counsel, for good cause shown, hereby stipulate and agree to extend all
 5
     outstanding deadlines in this case by ninety-one (91) days.1
 6
            Good cause supports this joint request for a 91-day extension. Specifically, the Parties
 7
     have been actively engaged in discovery. Plaintiff produced documents to Defendants on May
 8
 9   14, 2021 and September 2, 2021. Likewise, Defendants produced documents to Plaintiff on June

10   25, 2021, September 22, 2021, October 8, 2021, October 18, 2021, and October 25, 2021.

11   Additionally, Defendants took Plaintiff’s deposition October 11, 2021. The Parties have been

12   actively meeting and conferring regarding the various past and forthcoming productions, and
13   require additional time such that a full production can be made. This case involves the search
14   and production of voluminous ESI, the search of large databases, and the search of multiple
15   custodians’ records. Further, the Parties are awaiting the production of documents requested
16   under the Freedom of Information Act (“FOIA”). The Parties would like additional time to
17   complete discovery, to prepare for and take depositions, and to have sufficient time to retain
18
     experts and prepare expert reports. Further, the Parties have conferred and agreed to attend a
19
     mediation and are presently discussing the scheduling and parameters of such mediation. While
20
     pursuing mediation, the Parties wish to conserve resources and minimize unnecessary expense.
21
     Under the current deadlines, the Parties will not have sufficient time to complete the mediation
22
     and, if the matter is unresolved, make the required production and fulsome disclosures.
23
            To provide the Parties with sufficient time to complete mediation and, if needed,
24
     complete and review all discovery thereafter, and schedule the appropriate depositions, the
25
     Parties have agreed to extend all outstanding deadlines in this case by an additional 91 days.
26
27
28   1
      A 90-day extension causes almost all continued deadlines to fall on a Sunday. As such, the
     Parties propose a 91-day extension to simplify the new deadline calculations.



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               The updated case schedule would be as follows:
 2
 3
         Event                                       Current Date          New Proposed Date
 4       Expert Disclosure Deadline                  January 26, 2022      April 27, 2022
 5       Rebuttal Expert Disclosure Deadline         February 28, 2022     May 31, 20222
         Expert Discovery Cutoff                     March 14, 2022        June 13, 2022
 6       Fact Discovery Cutoff                       March 14, 2022        June 13, 2022
         Dispositive Motion Deadline                 March 14, 2022        June 13, 2022
 7
         Plaintiffs’ Motion for Class
                                                     March 14, 2022        June 13, 2022
 8       Certification
         Defendants’ Opposition to Plaintiffs’
 9                                                   May 16, 2022          August 15, 2022
         Motion for Class Certification
10       Plaintiffs’ Reply in Support of Motion
         for Class Certification/Disclosure of       June 13, 2022         September 12, 2022
11       Rule 23 Rebuttal Reports
         Pretrial Order Deadline                     April 11, 2022        July 11, 2022
12
13
               IT IS SO STIPULATED.
14
15
           DATED: December 3, 2021.
16
                                                       Respectfully submitted,
17
                         Order
18
               IT IS SO ORDERED
19                                                  By: /s/ Don Springmeyer
               DATED: 10:49 am, December 06, 2021


20                                                     KEMP JONES, LLP
               BRENDA WEKSLER                          Don Springmeyer, Esq. (SBN 1021)
21             UNITED STATES MAGISTRATE JUDGE
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         May 30, 2022 (91 days) is Memorial Day.




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 9                                       By: /s/ Jacob D. Bundick

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17
                                               Counsel for Defendants Allegiant Travel Company
18                                             and Allegiant Air, LLC

19
20                                             ORDER

21   IT IS SO ORDERED.
22   DATED this _______ day of ______, 2021.
23
24                                    _____________________________________________
                                      UNITED STATES MAGISTRATE JUDGE
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